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 6   Attorneys for Defendant
     Specialized Loan Servicing LLC
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                                 UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
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12   VAHE TASHJIAN, an individual,                       Lead Case No. 5:19-cv-01536-EJD
                                                         Consolidated with Case No.: 5:20-cv-08816-EJD
13          Plaintiff,
                                                         NOTICE OF SETTLEMENT BETWEEN
14   v.                                                  PLAINTIFF AND DEFENDANT
                                                         SPECIALIZED LOAN SERVICING LLC
15   INVICTUS RESIDENTIAL POOLER – 2A, a
     Delaware company, RECOVCO MORTGAGE                  Complaint Filed:   March 11, 2019
16   MANAGEMENT, LLC, a Delaware limited                 Removed:           March 25, 2019
     liability company; et al.                           Trial Date:        None set
17
            Defendants.
18
19   VAHE TASHJIAN, an individual,

20                               Plaintiff,

21        vs.

22   PLANET HOME LENDING, LLC, a
     Connecticut limited company, et al.,
23
                                Defendants.
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                                              NOTICE OF SETTLEMENT
          Case 5:19-cv-01536-EJD Document 211 Filed 08/23/23 Page 2 of 3



 1   TO THE COURT, ALL PARTIES AND THEIR ATRORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE Plaintiff Vahe Tashjian (“Plaintiff”) and Defendant Specialized

 3   Loan Servicing LLC (“Defendant” and collectively with Plaintiff, the “Parties”), have reached a

 4   settlement in principle of this matter. The Parties intend to finalize and execute a confidential

 5   settlement agreement and release based on their settlement. The Parties anticipate that Plaintiff will

 6   file a dismissal with prejudice as to Defendant within the next sixty (60) days by October 23, 2023.

 7          To the extent a dismissal is not filed by October 23, 2023, the Parties request that the Court

 8   dismiss this action with prejudice unless the Parties file a joint report with the Court addressing the

 9   status of settlement on or before October 23, 2023.

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11   DATED: August 23, 2023                    YU | MOHANDESI LLP
12
13                                             By: /s/ Pavel Ekmekchyan
                                                   Pavel Ekmekchyan
14                                                 Attorneys for Defendant
                                                   SPECIALIZED LOAN SERVICING LLC
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16
17   DATED: August 23, 2023                    SHAPERO LAW FIRM, PC
18
                                               By: /s/ Sarah Shapero
19                                                 Sarah Shapero
                                                   Attorneys for Plaintiff
20                                                 VAHE TASHJIAN
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                                            NOTICE OF SETTLEMENT
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 1                                      CERTIFICATE OF SERVICE

 2          I certify that on August 23, 2023, a copy of the foregoing was filed and served electronically

 3   in the ECF system. Notice of this filing will be sent to the parties of record by operation of the

 4   Court’s electronic filing system. Parties may access this filing through the Court’s system.

 5
 6          DATED: August 23, 2023

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                                                            /s/ Pavel Ekmekchyan
 8                                                          Pavel Ekmekchyan
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                                            NOTICE OF SETTLEMENT
